                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

KRISTA ABELS                               )
                                           )
       Plaintiff                           )
                                           )     CIVIL ACTION
v.                                         )
                                           )     FILE NO. 1:23-cv-02811-TWT
UNITEDHEALTHCARE                           )
INSURANCE COMPANY                          )
                                           )
       Defendant                           )

     CONSENT ORDER EXTENDING TIME TO ANSWER COMPLAINT

      Having read the foregoing Consent Motion to Extend Time to Answer

Plaintiff’s Complaint, for good cause shown, and all parties consenting thereto, it is

hereby ordered that the time within which defendant UnitedHealthcare Insurance

Company may answer, move, or otherwise respond to plaintiff’s complaint shall

be, and the same hereby is enlarged through and including September 8, 2023.

      This ___ day of __________, 2023.


                                 ________________________________________
                                 THOMAS W. THRASH, JR.
                                 SENIOR UNITED STATES DISTRICT JUDGE
Consented to by:

/s/ Heather K. Karrh
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